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                           UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION

   In Re: Tupperware Brands Corporation
   Securities Litigation

   BEN LAPIN,

                         Plaintiff,

   v.                                                         Case No: 6:20-cv-357-Orl-31GJK

   TUPPERWARE BRANDS
   CORPORATION, PATRICIA A.
   STITZEL, CHRISTOPHER D O’LEARY,
   CASSANDRA HARRIS and MICHAEL
   POTESHMAN,

                         Defendants.


                                              ORDER
          This cause comes before the Court on the Motion to Consolidate Related Actions, Appoint

   Lead Plaintiff, and Approve Selection of Counsel (Doc. 30) filed April 27, 2020.

          On May 27, 2020, the United States Magistrate Judge issued a report (Doc. 59)

   recommending that the motion be granted. A Joint Response was filed to the report on June 2,

   2020 (Doc. 60).

          Accordingly, it is

          ORDERED that the Report and Recommendation (Doc. 59) is CONFIRMED and

   ADOPTED as part of this Order, except that the jointly proposed schedule set for the in the

   Response shall apply. The Motion to Consolidate Related Actions, Appoint Lead Plaintiff, and

   Approve Selection of Counsel (Doc. 30) is therefore GRANTED in part. The schedule is as

   follows:
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          1.    Lead Plaintiff Srikalahasti M. Vagvala (“Vagvala”) will file his consolidated amended

               class action complaint within 45 days from the date of this order.

          2. Defendants may answer the consolidated amended complaint or move to dismiss

               within 45 days after the consolidated amended class action complaint is filed.

          3. If Defendants move to dismiss the case, Vagvala’s opposition to that motion will be

               due within 35 days of the filing of the motion to dismiss. Defendants may file a reply

               within 21 days of the filing of the opposition to the motion to dismiss.

          DONE and ORDERED in Chambers, Orlando, Florida on June 16, 2020.




   Copies furnished to:

   United States Magistrate Judge
   Counsel of Record
   Unrepresented Party




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